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                                                                           Page 1
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


             ---------------------------------X
             IRA KLEIMAN, as the personal              )
             representative of the Estate of           )
             David Kleiman, and W&K Info               )
             Defense Research, LLC,                    )
                                                       )
                                 Plaintiffs,           )   CASE NO.:
                                                       )
             v.                                        )   9:18-cv-80176-BB/BR
                                                       )
             CRAIG WRIGHT,                             )
                                                       )
                                 Defendant.            )
             ---------------------------------X


                                        CONFIDENTIAL
                         REMOTE DEPOSITION OF AMI KLIN, PH.D.
                      Tuesday, April 21, 2020; 10:04 a.m. EST



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             Pgs.     1 - 246, 263 - 400
             Reported by:      Cindy L. Sebo, RMR, CRR, RPR, CSR, CCR,
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                                                                         Page 166
        1    Disorders, Fifth Edition (DSM-5) that are keyed into

        2    the diagnostic criteria for ASD in the areas of

        3    social communication and interaction and restricted

        4    interests and repetitive behaviors.            And these are

        5    reported in T-scores with scores above 70 suggesting

        6    a strong association with a clinical diagnosis of

        7    ASD.    Based on self- and spousal-report

        8    respectively, Dr. Wright obtained the following

        9    compatible subscale scores: SCI -- which is social

       10    communication and interaction -- of 95 and 87; and

       11    restrictive and repetitive behaviors of 95 and 77,

       12    respectively.      The scores are strongly suggestive of

       13    ASD.

       14             Q.      And you describe in your report -- I'm

       15    just going to go back one page --

       16             A.      Sure.

       17             Q.      -- Page 6, just to make sure I

       18    understand it.

       19                     You -- you say that based on the SRS

       20    rating -- I'm just going to try to direct you to

       21    exactly where I am.

       22                     Okay.    So I'm going -- I'm going to
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                                                                         Page 167
        1    focus on right below the chart.

        2                     Okay?

        3             A.      Okay.

        4             Q.      Okay.    And what you say is, On the

        5    SRS-2, Dr. Wright's self-report yielded a total

        6    score of 96.

        7                     And just so we're clear, "total

        8    score" is another word for "T-score"?

        9             A.      Sure.

       10             Q.      Okay.    Okay.

       11             A.      Some people may call it a "standard

       12    score," but this -- this rating scale calls it

       13    "T-score."

       14             Q.      Okay.    And -- and then his wife's

       15    report, which we haven't got to yet, yielded a total

       16    score, or T-score, of 86?

       17             A.      Correct.

       18             Q.      You say, Both of which indicate severe

       19    deficits in reciprocal social behavior that are

       20    clinically significant.

       21             A.      Yes.    Following the manual for this

       22    procedure, that's what those scores signify.
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                                                                         Page 168
        1             Q.      And is that consistent with your

        2    overall assessment of Dr. Wright?

        3             A.      Yes.

        4             Q.      Okay.    And would that also -- now that

        5    we've talk -- and you go on -- just to finish so we

        6    don't leave a sentence out -- the next sentence, you

        7    say, By both reports -- you're referring to the

        8    self-report and the -- the -- Ms. Watts' report,

        9    correct?

       10             A.      Ms. Watts' report, correct.

       11             Q.      Yeah.

       12                     -- So By both reports, all subdomain

       13    scores fall in the severe range.

       14                     So let's stop there.

       15                     What you're talking about is for all

       16    of the -- the domains, meaning the social

       17    awareness, social cognition, social communication,

       18    social motivation, restricted and repetitive

       19    behavior, whether you used Dr. Wright's report or

       20    Miss Watts' report, they all fall in the severe

       21    range?

       22             A.      Yes.    And those ranges are defined on
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                                                                         Page 169
        1    the actual form if you want to --

        2             Q.      I will get there in a minute.          I

        3    promise.

        4                     And you agree -- that is consistent

        5    with your overall assessment of Dr. Wright,

        6    correct?

        7             A.      Correct.

        8             Q.      And then to finish the sentence, you

        9    say, Suggesting that Dr. Wright's impairments in the

       10    areas of social awareness, social cognition, social

       11    communication, social motivation and restricted and

       12    repetitive behaviors are likely causing significant

       13    interference with his everyday social interactions.

       14                     Did I read that right?

       15             A.      Yes.   And this is really the language

       16    of the manual.

       17                     I just want to qualify that this was

       18    one of the data -- of the many data points.              But

       19    within the context of what the SRS is, this language

       20    comes straight from the manual.

       21             Q.      Right.    But you've told me now

       22    repeatedly that it's consistent with your overall
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                                                                         Page 170
        1    assessment of Dr. Wright.

        2             A.      That is correct.

        3             Q.      Okay.    And would that also mean -- I'm

        4    just trying -- I know I'm being dense, but I'm

        5    trying not to be -- would this mean -- this

        6    discussion of the DSM, which -- would this mean that

        7    these same ratings on the SRS-2 would be compatible

        8    or -- compatible with a clinical diagnosis of ASD

        9    under the DSM?

       10             A.      DSM-5.

       11             Q.      DSM-5, yes, Doctor.

       12             A.      The answer is yes.

       13                     And I'll just qualify something to you.

       14    Only about -- according to the CDC, only about 6 to

       15    7 percent of all evaluations that happen in this

       16    country are gold standard; so they use those

       17    semistructured interviews, and so forth, that I

       18    describe to you before.

       19                     Many, many evaluations in the community

       20    don't use any standardized instruments at all.               And

       21    they may use, for example, a rating scale, and

       22    that's all.      The people go in order to, for example,
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                                                                          Page 180
        1                     So the Social Responsiveness Scale

        2    focuses on the concept of social ability.              And

        3    social ability is something like most things in

        4    nature; they are distributed normally, like one of

        5    those bell-shaped curves.

        6                     Okay?    And so the area underneath those

        7    curves tell you what is the percentage of the

        8    population that falls under a particular score.

        9    Now, if you're looking at that bell-shaped curve,

       10    the extreme there is where individuals with autism

       11    fall.

       12                     So it's on the basis of that kind of

       13    analysis that Dr. Constantino reached the conclusion

       14    that -- that any score below 59 is really

       15    individuals who are typically developing.

       16                     And then the next level up, 60 to 65 --

       17    those -- those are individuals who -- in a parallel

       18    evaluation, they appear to have some mild -- mild

       19    form of social difficulties.

       20                     Sixty-six to 75 -- those are

       21    individuals have moderate -- by which he's meaning

       22    that those difficulties are beginning to interfere
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                                                                         Page 181
        1    with the way that they can adjust to social

        2    situations.

        3                     Over 76 means that those are very

        4    severe interferences with their capacity for social

        5    adjustment in their real lives.

        6             Q.      And the SRS scoring for Dr. Wright --

        7    again, we'll just stick with his self-report for a

        8    moment -- he is well into the severe range on every

        9    rating scale, correct?

       10             A.      On every subscale.

       11             Q.      Every subscale.

       12                     In fact, at 76 -- if you're at 76,

       13    you're about in the bottom 1 percent of the adult

       14    population, right?

       15                     Do you know that?

       16             A.      You see, I would -- I would have to

       17    remember the curve itself --

       18             Q.      Okay.

       19             A.      -- usually, when people have a

       20    different kind of a scale, like an IQ scale, I know

       21    exactly because it mirrors exactly the kind of

       22    standard deviation that should be under a
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                                                                         Page 182
        1    standardized scale.

        2                     Here, they used T-scores.         I would need

        3    to know the standard deviations of those T-scores in

        4    order to either corroborate or -- or otherwise

        5    dispute your -- your assessment there.

        6             Q.      Okay.    Well, you -- let me ask you

        7    this --

        8             A.      Sure.

        9                     You are not far off, by the way.

       10             Q.      Yeah.    When you're at 90 -- let's

       11    scroll up a bit.       Let's go up to the scoring sheet.

       12                     Let's see if I can help you out.

       13                     Okay.    Well, I guess this -- you

       14    don't dispute that -- well, first of all, the --

       15    the -- the percentile ranking -- you gave a

       16    percentile ranking when you did the Vineland

       17    assessment.

       18                     Do you recall that?

       19             A.      Correct.

       20             Q.      That same percentile ranking exists for

       21    the SRS, does it not?

       22             A.      I'm sure it existed in the technical
